Case 1:21-cv-00757-PLM-SJB ECF No. 38, PageID.414 Filed 10/05/21 Page 1 of 2




                          UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF MICHIGAN, SOUTHERN DIVISION

EMILY DAHL, HANNAH REDOUTE,
BAILEY KORHORN, MORGAN
OTTESON, JAKE MOERTL, KIA BROOKS,                       Case No. 1:21-cv-757
AUBREE ENSIGN, REILLY JACOBSON,
TAYLOR WILLIAMS, KAELYN PARKER,                         Hon. Paul L. Maloney
ANNALISE JAMES, MAXWELL HUNTLEY,
SIDNEY SCHAFER, DANIELLE NATTE,
NICOLE MOREHOUSE, and KATELYN
SPOONER,

        Plaintiffs,

v.

THE BOARD OF TRUSTEES OF
WESTERN MICHIGAN UNIVERSITY,
EDWARD MONTGOMERY, President of WMU,
KATHY BEAUREGARD, WMU Athletic Director,
and TAMMY L. MILLER, Associate Director of
Institutional Equity,

        Defendants.
____________________________________________________________________

                       STIPULATED ORDER TO EXTEND TIME TO FILE
                        RESPONSE TO FIRST AMENDED COMPLAINT

        IT IS HEREBY STIPULATED AND AGREED, by the undersigned counsel that

Defendants, THE BOARD OF TRUSTEES OF WESTERN MICHIGAN UNIVERSITY, EDWARD

MONTGOMERY, KATHY BEAUREGARD, and TAMMY L. MILLER, have until October 22, 2021,

to file their response to Plaintiffs’ First Amended Complaint.

DATED: October 5, 2021                          GREAT LAKES JUSTICE CENTER


                                                By:___/s/David A. Kallman (with permission)___
                                                       David A. Kallman (P34200)
                                                       Attorney for Plaintiffs
Case 1:21-cv-00757-PLM-SJB ECF No. 38, PageID.415 Filed 10/05/21 Page 2 of 2




DATED: October 5, 2021                   PLUNKETT COONEY


                                         By:___/s/Michael S. Bogren________________
                                                Michael S. Bogren (P34835)
                                                Attorney for Defendants

                                         BUSINESS ADDRESS:
                                         333 Bridge Street, NW, Suite 530
                                         Grand Rapids, Michigan 49504
                                         Direct Dial: 269-226-8822
                                         mbogren@plunkettcooney.com




                                         ORDER

        This matter having come before the Court through stipulation, and the Court being

fully advised in the premises;

        IT IS HEREBY ORDERED, that Defendants, THE BOARD OF TRUSTEES OF WESTERN

MICHIGAN UNIVERSITY, EDWARD MONTGOMERY, KATHY BEAUREGARD, and TAMMY L.

MILLER, have until October 22, 2021, to file their response to Plaintiffs’ First Amended

Complaint.

Date:___________________________                ______________________________________
                                                HON. PAUL L. MALONEY
                                                U.S. District Court Judge


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